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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )             Case No. 17-CR-239-D
                                           )
JERRY DRAKE VARNELL                        )
                                           )
       Defendant.                          )


          DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL
                       AND BRIEF IN SUPORT

       The defendant, Jerry Drake Varnell, through his attorneys of record, Marna Franklin

and Vicki Zemp Behenna, moves this court to enter an order of judgment of acquittal on

all Counts, pursuant to Federal Rule of Criminal Procedure 29, on the grounds that no

reasonable jury could have found that the government met its burden to prove beyond a

reasonable doubt that it did not entrap Mr. Varnell. Furthermore, the evidence presented

at trial demonstrated that the government was excessively involved in the creation of the

crime and is therefore insufficient to sustain a conviction.

                                     BACKGROUND

       On February 4, 2019, Mr. Varnell moved to dismiss the Superseding Indictment on

the grounds that the government’s conduct during the course of the investigation was so

outrageous that the government was constitutionally barred from prosecuting the offenses

developed through that conduct (“Motion to Dismiss”). [Doc. No. 212] On February 11,
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2019, the Court reserved its ruling on that motion until after the close of the government’s

case in chief. [Doc. No. 225]

       On February 21, 2019, at the close of the government’s case in chief, Mr. Varnell

renewed his motion. The Court denied the motion, finding that Mr. Varnell’s speech prior

to the government’s involvement constituted a crime under 18 U.S.C. § 844(e) and,

therefore, the outrageous conduct defense is not available to him.

       On February 25, 2019, Mr. Varnell was convicted on both Counts.

                                      ARGUMENT

       When determining whether to grant a motion for judgment of acquittal, the court

“must view the evidence, both direct and circumstantial, in the light most favorable to the

government, and without weighing conflicting evidence or considering the credibility of

the witnesses, determine whether that evidence, if believed, would establish each element

of the crime.” U.S. v. Brown, 50 Fed.Appx. 970, 976 (10th Cir. 2002). The evidence

presented at trial, when viewed in the light most favorable to the government, demonstrated

that the government did not meet its burden to prove beyond a reasonable doubt that Mr.

Varnell was not entrapped. No reasonable jury could have found otherwise. Moreover,

the government’s conduct was so outrageous that it should have been barred from

prosecuting the offenses developed through that conduct.

I.     Mr. Varnell’s Conviction was the Result of Outrageous Government Conduct

       The Tenth Circuit has held that a defendant asserting the outrageous government

conduct defense “bears the burden of proving either: (1) excessive government

involvement in the creation of the crime, or (2) significant governmental coercion to induce

                                             2
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the crime.” U.S. v. Dyke, 718 F.3d 1282, 1287 (10th Cir. 2013). While there is no bright-

line test to determine the precise point at which the government’s involvement in the

creation of the crime becomes excessive, there are some guiding principles that have

emerged. For example, courts have held that the government is permitted to infiltrate an

ongoing criminal enterprise, and may even induce a suspect to repeat, continue, or expand

criminal activity. Id. at 1288. However, where the government “generates new crime for

the purpose of prosecuting it or induces a defendant to become involved for the first time

in certain criminal activity, as opposed to merely interposing itself in an ongoing criminal

enterprise, such conduct has occasionally been held to be outrageous.” Id. In those

circumstances, the government “should not be allowed to invoke the judicial system in

connection with [the] case, and the charges against [the defendant] should be dismissed.”

U.S. v. Mosley, 965 F.2d 906, 908 (10th Cir. 1992).

       A. Mr. Varnell was Not Engaged in Criminal Activity Prior to the
          Government’s Involvement

       This Court previously determined that the government did not induce Mr. Varnell

to become involved in criminal activity for the first time because Mr. Varnell was already

engaged in criminal activity when the government inserted itself into his conversations.

Specifically, the Court held that Mr. Varnell’s speech prior to the government’s

involvement violated 18 U.S.C. § 844(e), which prohibits any person from “willfully

mak[ing] any threat . . . concerning an attempt or alleged attempt being made, or to be

made, to kill, injure, or intimidate any individual or unlawfully to damage or destroy any

building, vehicle, or other real or personal property by means of fire or an explosive.”


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However, any statute prohibiting speech based on its content “must be interpreted with the

commands of the First Amendment clearly in mind.” U.S. v. Heineman, 767 F.3d 970 (10th

Cir. 2014). Therefore, in order to avoid any conflict with the First Amendment, courts

have interpreted § 844(e) as prohibiting only “true threats,” which “encompass those

statements where the speaker means to communicate a serious expression of an intent to

commit an act of unlawful violence to a particular individual or group of individuals.” See

U.S. v .Viefhaus, 168 F.3d 392, 395-96 (10th Cir. 1999) (construing § 844(e) to require

proof of a true threat); U.S. v. Spruill, 118 F.3d 221 (4th Cir. 1997) (finding that § 844(e)

“proscribes only true threats). And see Virginia v. Black, 538 U.S. 343, 358 (2003)

(defining true threats).

       In order to find that speech constitutes a “true threat,” and therefore violates §

844(e), this court must find that the speaker intended the recipient of his speech to feel

threatened. See U.S. v. Heineman, 767 F.3d 970 (10th Cir. 2014) (“Thus, we are facing a

question of first impression in this circuit: Does the First Amendment, as construed in

Black, require the government to prove in any true threat prosecution that the defendant

intended the recipient to feel threatened? We conclude that it does.”) (emphasis added).

And see U.S. v. Pettaway, 297 F.Supp.3d 137 (D.C. Cir. 2018) (finding that the government

must prove that the defendant acted with an intent to instill fear of violence in order to

secure a conviction under § 844(e)). This is true regardless of the fact that § 844(e) does

not contain an express mens rea requirement. See Elonis v. U.S., 135 S.Ct. 2001, 2010

(2015) (finding that, when interpreting federal criminal statutes that are silent on the

required mental state, the court must read into the statute the mens rea necessary to separate

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wrongful conduct from otherwise innocent conduct). And see Heineman, 767 F.3d at 973

(finding that the court must “read into [the statute] any scienter necessary to satisfy the

demands of the First Amendment”). Therefore, in order to find that Mr. Varnell violated

§ 844(e), this Court must find not only that he intended to communicate threatening words,

but that he intended the recipient of his speech to feel threatened. He did not.

       B. Mr. Varnell Did Not Intend the Recipient of His Speech to Feel Threatened
          Because His Speech was Directed at Like-Minded Believers

       In Virginia v. Black, the Supreme Court considered the constitutionality of a

Virginia statute prohibiting individuals from burning crosses with an intent to intimidate.

Importantly, the statute contained a provision stating that “any such burning of a cross shall

be prima facie evidence of an intent to intimidate a person or group of persons.” Black,

538 U.S. at 363. The Court held that, while the state was permitted to ban cross-burning

carried out with an intent to intimidate, the prima facie evidence provision rendered the

statute unconstitutional because it impermissibly assumed that all cross-burning is done

with the intent to intimidate. Id. at 365-66 (“[T]he provision chills constitutionally

protected political speech because of the possibility that the Commonwealth will

prosecute—and potentially convict—somebody engaging only in lawful political speech

at the core of what the First Amendment is designed to protect.”).

       In its analysis, the Court stressed the importance of the context within which the

speech was made for purposes of determining whether the speaker intended to make a true

threat. The Court indicated that the exact same speech taken in two different contexts could

be considered criminal in one but protected in the other. For example, speech might be


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criminal when directed at an individual but protected when directed at a group of like-

minded believers. Specifically, the statute in that case was found unconstitutional because:

       [It] makes no effort to distinguish among these different types of cross
       burnings. It does not distinguish between a cross burning done with the
       purpose of creating anger or resentment and a cross burning done with the
       purpose of threatening or intimidating a victim. It does not distinguish
       between a cross burning at a public rally or a cross burning on a neighbor’s
       lawn. It does not treat the cross burning directed at an individual
       differently from the cross burning directed at a group of like-minded
       believers.

Id. at 366.

       Just as an individual burning a cross at a public rally does not intend to threaten or

intimidate a victim, Mr. Varnell did not intend to threaten or intimidate anyone when he

sent messages to a group that he reasonably believed to be made up of like-minded

individuals, one of whom was previously convicted for threatening to blow up the Norman

Police Department.1 Rather than trying to intimidate anyone, it seems far more likely that

Mr. Varnell was trying to impress the people he was communicating with. Had Mr. Varnell

intended to make anyone feel threatened by his statements, he certainly would have chosen

a different audience. Because Mr. Varnell lacked the requisite intent to instill fear in the

recipients of his speech, this Court should find that he did not make a “true threat” in

violation of § 844(e) and had therefore not engaged in criminal activity prior to the

government’s involvement.




1
  Brent Elisens was convicted on February 23, 2011 for using a telephone to communicate a bomb
threat against the Norman Police Department.
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       C. The Government Manufactured the Crimes for Which Mr. Varnell was
          Convicted

       The evidence presented at trial demonstrated that, prior to the government’s

involvement, Mr. Varnell had no plans to carry out an attack, nor did he have the means to

do so. In U.S. v. Batres-Santolino, 521 F.Supp. 744, 752 (N.D.Ca. 1981), the Northern

District of California upheld the outrageous government conduct defense where the

defendants, “although not without some culpability, … were not embarked or about to

embark on any criminal activity until the government’s agent set in motion the operation.”

In that case, the court found that the “government agents manufactured a crime that . . .

could not and would not have been committed if [the undercover agent] had not inveigled

defendants into it and offered to provide them an otherwise unavailable source of supply

of the illegal drug they were to import.” Id. at 751. See also U.S. v. Twigg, 588 F.2d 373,

379 (3d Cir. 1978) (finding outrageous government conduct where the government

purchased the indispensable ingredient, provided an ‘isolated farmhouse well-suited for the

location of an illegally operated laboratory,” and was “completely in charge and furnished

all of the laboratory expertise”). As in other cases where outrageous conduct has been

found, the government in this case created the plan, set it in motion, and was in total control

from start to finish.

       Despite the government’s carefully-crafted narrative that Mr. Varnell was a threat

that demanded the FBI’s full attention, Mr. Varnell was not a threat to anyone until the

government made him one. The FBI itself made that determination on February 10, 2017,

when it found that Mr. Varnell “does not have a job or a vehicle” and “does not appear to


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have the means to actually commit this act.” Undeterred, the government set out to build

a case against him using a combination of tactics that, when viewed with an appreciation

of the totality of the circumstances2, amounts to the “shocking, outrageous, and clearly

intolerable conduct” first contemplated by the Supreme Court in U.S. v. Russell, 411 U.S.

423, 432 (1973).

          The government contends that Mr. Varnell was actively looking for people to assist

him and that the undercover agent “merely stepped in to be that assistant.” [Doc. 218]

However, the evidence shows that Mr. Varnell was a participant in a plan created by the

government—not the other way around. The government arranged and directed the entire

crime, starting on April 24, 2017, when Brent Elisens told Mr. Varnell that he knew a guy

with access to large quantities of ammonium nitrate fuel oil (“ANFO”). On June 26, 2017,

the undercover agent met with Mr. Varnell and assigned him the tasks of obtaining a box

truck, burner phone, and barrels, and picking a date and location. The agent repeatedly

inquired about the status of these tasks and each time he received either no response or an

excuse as to why they had not been completed.3 Mr. Varnell failed to complete any of the


2
  Dyke, 718 F.3d 1289 (“[W]hat qualifies as outrageous government conduct depends on an
appreciation of the totality of the circumstances.”).
3

                                   Undercover Agent                             Mr. Varnell
    June 19, 2017   Going to be in OKC this weekend to see my        I’m not sure, I’ll let you know in
                    girl. You around Monday to meet up?              a couple of days. [doesn’t follow
                                                                     up]
    July 20, 2017   You make any progress with what we talked        Working on it. Might have
                    about?                                           something by next week.
    July 25, 2017   Any thoughts on a date?                          [No response]
    July 28, 2017   What do you think of Friday, August 11 for the   [No response]
                    date?
    July 29, 2017   Bubba, you getting my messages?                  Ya sorry just haven’t come up
                                                                     with anything

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tasks to which he had been assigned and ultimately contributed very little to the operation.

See Twigg, 588 F.2d 373 (3d Cir. 1978) (finding outrageous government conduct where

the government was in complete control and received only minor assistance from the

defendant). The only items that Mr. Varnell eventually supplied to create the bomb were

electrical tape and latex gloves, which he obtained (1) at the direction of the agent, (2) with

money given to him by the agent, and (3) after being driven to Wal-Mart by the agent.

       Tellingly, Mr. Varnell could have contributed more but chose not to. When Mr.

Varnell was presented with multiple opportunities, concocted by the government, to obtain

a box truck from another “friend” free of charge, he did not take his friend up on the offer.

The informant later told Mr. Varnell that he could get a van for $500, but when Mr. Varnell




 July 30, 2017    I still you need you to get containers. Garbage      Sounds good
                  cans, plastic totes, barrels, doesn’t matter what,
                  just a couple of them. 50 to 10 probably.
                  Assuming we can make that happen, what do
                  you think of that date, August 11?
 August 3, 2017   Hey man what’s the story with the vehicle and        [No response]
                  containers?
 August 4, 2017   Hey man we should probably talk sometime             I’m going to be building fence all
                  soon about next week. I can call you tomorrow        day tomorrow.
                  if you’re around.
 August 6, 2017   I’m going to call you tomorrow and talk about        ok
                  the schedule
 August 7, 2017   [attempted call, no answer]                          showering call you back in 20
                                                                       [never called]
 August 8, 2017   I’m in between something [b]ut call when you         [No response]
                  can. If I cannot answer will call u asap
 August 8, 2017   Let me know when you can talk                        [No response]
 August 10,       Do you have what we discussed for the vehicle        Can’t find anything to use
 2017
 August 11,       Got electrical tape?                                 No I don’t have any. Sorry just
 2017                                                                  got out of school.
 August 11,       You have latex gloves?                               I couldn’t find mine.
 2017


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did not come up with the money, the informant told him that the $500 was “forgiven.”

Likewise, Mr. Varnell had several barrels at his home that he could have easily contributed

but did not because then he “would have to find some more for [his] house,” so the

government supplied those as well. Even the date was eventually chosen by the undercover

agent after multiple attempts to get Mr. Varnell to pick one. The government, tired of

waiting for Mr. Varnell to act on his own accord (and likely knowing he wouldn’t), solved

every excuse he had and did so at no cost to him. When analyzing the outrageousness of

the government’s conduct, case law instructs courts to look at how “eagerly and actively

the defendant himself participated in the current crime charged,” stating that it is “an

important and decisive factor.” Dyke, 718 F.3d at 1289. Mr. Varnell’s interactions (or lack

thereof) with the agent in the weeks leading up to August 11, 2017, clearly demonstrate

that he was not an eager participant at all.

       The government’s pattern of solving Mr. Varnell’s problems continued right up

until August 11, 2017, when the agent helped Mr. Varnell build the bomb and then gave

him the keys to the van. Mr. Varnell, who was clearly surprised, gave the keys back and

told the agent “I don’t need those, I don’t wanna drive, I can’t drive. … I don’t have a

license dude. … I can’t drive dude.” The agent responded by saying, “I mean, I don’t know

what to tell ya. I’m not driving it. … I thought you understood that was the deal. … I

thought you understood that’s what was going on.” As the agent pointed out, Mr. Varnell

was “about to place a thousand-pound bomb somewhere” but was “worried about a traffic

violation.” Eventually, the agent offered one final solution: he would follow Mr. Varnell

and if somebody started to pull him over, the agent would “blow past them” and have them

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pull him over instead. The government asserts that “Mr. Varnell remained the driver of his

own plan” [Doc. 218] yet, in reality, Mr. Varnell couldn’t even drive a car without the

government’s assistance.

          In addition to eliminating every excuse Mr. Varnell came up, the government used

Brent Elisens, an individual with a dominant and narcissistic personality, to pressure him

into acting when it was clear he was reluctant to do so. Mr. Varnell’s interactions with

Elisens plainly demonstrate the substantial amount of pressure exerted by the government.4


4

                                           Brent Elisens                                  Mr. Varnell
    July 26, 2017    did you die?                                                      [No response]
    July 29, 2017    dud wtf is going on?                                              What you mean?
    August 2, 2017   HOW AM I SUPPOSED TO SEND OUT YOUR MESSAGE                        [No response]
                     IF YOU DON’T GIVE IT TO ME [EXPLETIVE]
    August 3, 2017   what the [expletive]?                                             Sup

                     wtf are you doing                                                 My phones been
                                                                                       off bro

                     you’re ok though? [expletive] had me nervous                      ya I’m good

                     alright well it’s getting close
    August 4, 2017   you’re really REALLY starting to make me worry                    what [expletive]?
                                                                                       lol

                     This is big [expletive] and we have to make sure we’re all on     I’ve been mulling
                     the same page step by step. If I’m to help I need to be on        some stuff over.
                     point. So YOU explain [expletive] lol                             Don’t rush me lol


                     Care to share?                                                    [No response]
    August 8, 2017   [on phone, Elisens tells Varnell he has access to van             sounds good, I
                                                                                       guess. Whatever
                     Elisens tells Varnell that he needs to “follow through” because   works
                     his word is on the line]
    August 9, 2017   [after 3 unanswered calls]
                     What are you up to man? You know I would uh definitely
                     appreciate it if uh you could pick up your cellular device and
                     open the phone app and then dial the ten-digits that will
                     connect you directly to my cell phone. Like, you do that I can
                     pick up and talk, it’s amazing, it’s amazing, try it bro

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          Finally, even if Mr. Varnell had concocted the plan on his own, he was powerless

to carry it out. Most critically, the government supplied the key ingredient—1,000 pounds

ANFO—a substance which would have been nearly impossible for him to obtain on his

own.5 The government also supplied the expertise needed to carry out the plan because,

despite his claims of minoring in chemistry because “[b]ombs are cheaper than bullets,”

Mr. Varnell did not know how to build the bomb, a fact that became abundantly clear as

the agent painstakingly walked him through the process step by step. Mr. Varnell did not


    August 9, 2017   [after Mr. Varnell tells him he can’t meet because he feels           [No response]
                     “like 10 pounds of doodie in a one pound sack”]
                     So your doodie is more important than everyone’s freedom?
                     Tomorrow better?
    August 9, 2017   [on phone]
                     You know it’s crunch time                                             Yeah

                     Where we at? Man, like, I got, I got the script ready I need that     Yeah
                     message … [tells him he needs to come up with something
                     like cash or drugs for the van] we need the barrels dude
    August 9, 2017   [on phone]
                     Like, um I’m get, I’m getting uh uh a feeling from you man            Yeah, well uh, I’m
                     like I’m kind of feeling like you’re being wishy washy and            I’m gonna be good
                     like I need to make sure that it’s on Friday. Alright, well this      by Friday
                     this is a as you know this is a, this is a very, very, very big big
                     thing, you know, and I I’m pretty, I’m pretty sure that those
                     problems are kind of trivial compared to ones we got going
                     on, so, I I’m doing my end but I need to make sure that Friday
                     is official, ok?

                     You’ll be good by Friday?                                             Yeah

                     Ok, that makes me feel a little bit better man, I appreciate that
    August 10,       I’m impressed you’re taking your plan to the follow through…          I do what I does
    2017             I didn’t think you would. I’m very impressed.
    August 10,       [in reference to money for van]
    2017             I’m not impressed and I’m starting to get nervous. I look up          [Expletive] I ain’t
                     to you and we’re doing your plan to the T, now you have a             got no money. At
                     fever and go to learn to slave over money as you say…our              all.
                     freedom isn’t worth $500?
5
 Barry Black, the government’s bomb expert, testified at trial that Mr. Varnell would have needed
a permit to purchase ANFO, as required by 27 C.F.R. § 555.41
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know what the boosters were, did not know that the van was “going with it,” and incorrectly

attached wires, even after the agent told him how.

      D. Mr. Varnell’s Mental Health Should Be Considered when Evaluating the
         Outrageousness of the Government’s Conduct

      The Tenth Circuit has held that the outrageousness of the government’s conduct

“depends in part on who the government is dealing with.” Dyke, 718 F.3d at 1289. While

the Tenth Circuit has found that certain tactics might be less outrageous when used against

someone who is predisposed to commit a crime, the opposite should be true as well.

Specifically, the fact that Mr. Varnell is a diagnosed schizophrenic should make the

government’s conduct in this case even more outrageous than it would be if the defendant

was not mentally ill. To be clear, Mr. Varnell does not argue, as the government previously

asserted, that all persons living with schizophrenia should be immune from investigation.

However, the fact that Mr. Varnell is schizophrenic should at least be a factor this Court

considers when determining the outrageousness of the government’s conduct. See U.S. v.

Harris, 997 F.2d 812, 816 (10th Cir. 1993) (taking into consideration whether the

defendant was a known addict for purposes of determining whether the government’s

distribution of narcotics to defendant was outrageous). For example, the fact that the

informant—Elisens—repeatedly brought marijuana with him to Mr. Varnell’s home might

not ordinarily be considered outrageous; however, the level of outrageousness rises when

taking into account the fact that marijuana was given to a person that the government knew

was schizophrenic and taking anti-psychotic medication.




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                                     CONCLUSION

       As the government correctly noted, many of the tactics used by the government have

been described by courts as “pretty prosaic stuff for undercover sting operations.” [Doc.

218 ] Standing alone, it is unlikely that any of the tactics employed here would amount to

outrageous government conduct. However, the Tenth Circuit has held that “what qualifies

as outrageous government conduct depends on an appreciation of the totality of the

circumstances.” Dyke, 718 F.3d at 1289. The totality of the circumstances in this case

reveals a coercive cocktail of tactics that the government utilized to exploit a mentally ill

individual for the sole purpose of obtaining a conviction. Mr. Varnell was not engaged in

criminal activity prior to the government’s involvement, had no plans to carry out an attack,

and completely lacked the resources and the knowledge to do so. The government did not

infiltrate an ongoing criminal enterprise, within the bounds of permissible investigative

tactics, because there was no enterprise to infiltrate. Rather, it manufactured a new crime

and induced Mr. Varnell to commit the acts for which he was convicted.

       It is well-recognized that the outrageous government conduct defense is available

only in the most egregious circumstances—those that are “shocking, outrageous, and

clearly intolerable.” Russell, 411 U.S. at 432. The stringent nature of the outrageous

government conduct defense is demonstrated by the fact that in only a handful of cases

where the defense has been raised have the charges been dismissed. However, the Tenth

Circuit has expressly declined to close the door on the defense, placing itself firmly in the

“never say never” camp. Dyke, 718 F.3d at 1287. By doing so, the court made clear that

there could very well be a time when the government’s conduct warrants dismissal. This

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is such a case. Accordingly, Mr. Varnell respectfully requests this Court enter an order of

judgment on acquittal.

                                                  Respectfully submitted,


                                                  /s/ Vicki Zemp Behenna
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                                                  Attorney for Defendant,
                                                  Jerry Drake Varnell


                             CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of March, 2019, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing and
transmittal of Notice of Electronic Filing, which will automatically send e-mail notification
of such filing to all attorneys of record.

                                                  /s/ Vicki Zemp Behenna
                                                  Vicki Zemp Behenna




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